     Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.2 Page 1 of 33




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     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                     CENTRAL DIVISION



BLACKBIRD CAPITAL LLC,

        Plaintiff,                                    Case No. 2:21-cv-00037-DBP

v.

Worth Group Capital, LLC; Justin Ely; Halls           COMPLAINT AND JURY DEMAND
Law Office; Scotia International of Nevada,
Inc.; Sion Trading FZE; Max Warren Barber;
NaPo Limited; Nikolas Korakianitis; GT
Foundation; and Kumar Singh,

        Defendants.


        Plaintiff Blackbird Capital LLC (“Blackbird” or “Plaintiff”), by and through its

undersigned counsel, files this Complaint and Jury Demand against Worth Group Capital, LLC

(“Worth”), Justin Ely (“Ely”), Halls Law Office (“Halls”), Scotia International of Nevada, Inc.

(“SION”), Sion Trading FZE (“SION FZE”), Max Warren Barber (“Barber”), NaPo Limited;

Nik Korakianitis (“Korakianitis”); GT Foundation; and Kumar Singh (“Singh,” and collectively,

“Defendants”), and alleges and states as follows:
   Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.3 Page 2 of 33




                                  NATURE OF THE ACTION

       1.      This action arises out of the Defendants’ bad faith and fraudulent actions,

including breaches of multiple contracts and a pattern of tortious misconduct, related to a

$25,000,000 loan Worth agreed to extend to Blackbird in connection with a planned real estate

development project in Denver, Colorado. Based on promises from Worth, Ely, and Halls,

Blackbird entered into a loan agreement dated November 4, 2019. This agreement between

Worth and Blackbird required Worth to fund the loan on or before November 16, 2019. To

trigger Worth’s obligation to fund the loan, and at Worth’s direction, Blackbird was required to

make a $5,000,000 deposit with Halls pursuant to an August 27, 2019 deposit agreement in

which Halls agreed to act as Blackbird’s fiduciary. Blackbird transferred the $5,000,000 deposit

amount to Halls on August 28, 2019. Worth did not fund any part of the loan on or before

November 16, 2019, as required, and has not funded any portion since. For its part, Halls has not

returned the $5,000,000 deposit, in violation of both the deposit agreement and its fiduciary

duties to Blackbird.

       2.      Blackbird has now discovered that Worth’s and Halls’ failure to fund the loan and

return the deposit is not merely limited to a standard breach of contract, but rather is part of a

larger scheme involving some, if not all, of the Defendants to defraud involving numerous

parties who induce would-be borrowers into transferring large sums of money as deposits on

loans that never fund, with the deposits transferred overseas and all but disappearing. Fraud has

been perpetrated against at minimum eight other individuals and companies in at least seven

states in the United States and in at least one province in Canada.

       3.      In Blackbird’s case, Worth, Ely, Halls, and Barber, who is acting as an agent and


                                                  2
   Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.4 Page 3 of 33




intermediary individually and through SION and SION FZE, along with NaPo Limited,

Korakianitis, GT Foundation, and Singh, have engaged in a series of delay tactics, including by

making multiple representations and promises to Blackbird that have turned out to be false and

making several offers of substitute or additional deals to cover the loan and the deposit that were

not valid. At this point, because of Defendants’ conflicting representations and delay tactics,

Blackbird has no way to know where its deposit is located and in whose possession. As a

consequence, Blackbird has been damaged no less than $22,000,000.

                                            PARTIES

       4.      Plaintiff Blackbird is a real estate development company based in Des Moines,

Iowa. Its sole member, Justin Doyle, is a resident of Iowa.

       5.      Defendant Worth is a Wyoming limited liability company in the financial services

industry with a principal place of business at 1621 Central Avenue, Cheyenne, WY 82001.

       6.      Defendant Ely is an individual and resident of Utah, and is Worth’s managing

member.

       7.      Defendant Halls is a law firm with a registered office at 4047 North Ptarmigan

Place, Suite 101, Star, Idaho 83669. William Halls (“Mr. Halls”) is a lawyer at this law firm.

       8.      Defendant SION is a Utah corporation with a principal place of business at 4455

S. 700 E., Suite 300, Salt Lake City, Utah 84101.

       9.      Upon information and belief, Defendant SION FZE is a single shareholder limited

liability company formed in the United Arab Emirates and owned by Barber.




                                                 3
   Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.5 Page 4 of 33




         10.   Upon information and belief, Defendant Barber is an individual and resident of

Utah, the Vice President of International Trade and registered agent of SION, and owner of

SION FZE.

         11.   Upon information and belief, Defendant NaPo Limited is a company located and

incorporated in Bridgetown, Barbados, and Saint Lucia. NaPo is represented by Defendant

Korakianitis, who, upon information and belief, is its founder.

         12.   Upon information and belief, Defendant Korakianitis is a Canadian citizen, is a

representative of NaPo Limited, and knows Barber through gold and other trading with each

other.

         13.   Upon information and belief, GT Foundation is a private interest foundation

founded in Panama City, Panama with a registered office located at PTY 296, P.O. Box 0832-

7245, WTC, Panama City, Panama. GT Foundation may have an office in London, England

and/or New York, New York.

         14.   Upon information and belief, Defendant Singh is a managing director for GT

Foundation.

                                JURISDICTION AND VENUE

         15.   This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a),

because there is complete diversity of citizenship between Plaintiff and Defendants and the

matter in controversy exceeds $75,000, exclusive of interest and costs.

         16.   Specifically, there is complete diversity of citizenship because Blackbird and its

sole member are both residents of Iowa. None of the Defendants are residents of Iowa, nor are




                                                4
   Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.6 Page 5 of 33




any owners of Worth. Instead, Defendants are residents of other states or nations as set forth

more fully below.

         17.   Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2), as a

substantial part of the events and omissions giving rise to the claims asserted herein occurred in

Utah.

         18.   Specifically, with respect to Worth, venue is appropriate because the Settlement

Agreement (as defined below) between Worth and Blackbird specifies state or federal court in

Utah as the appropriate venue for the resolution of disputes between the parties. Further,

Worth’s managing member, Ely, is a resident of Utah. In his capacity as Worth’s managing

member, Ely engaged in a substantial part of the acts and omissions giving rise to the claims

asserted against Worth herein while he was located in Utah.

         19.   With respect to Ely, venue is appropriate because he is a resident of Utah and he

engaged in a substantial part of the acts and omissions giving rise to the claims asserted herein

while located in Utah.

         20.   With respect to Halls, although the Deposit Agreement (as defined below)

between Halls and Blackbird specifies state or federal court in Iowa as the appropriate venue for

the resolution of disputes between the parties, Halls has consented in writing to venue in this

Court.

         21.   With respect to Barber and SION, venue is appropriate because SION is an entity

incorporated in Utah, with its principal place of business in Utah, and Barber purportedly serves

as its Vice President of International Trade. Many of SION’s and Barber’s acts and omissions

giving rise to Blackbird’s claims occurred in Utah.


                                                 5
   Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.7 Page 6 of 33




        22.     With respect to SION FZE, venue is appropriate because Barber exercises

complete dominion and control over SION FZE and ignores the corporate formalities of this

entity. Many of SION FZE’s acts and omissions giving rise to Blackbird’s claims were

conducted by Barber on SION FZE’s behalf in Utah.

        23.     With respect to NaPo Limited, Korakianitis, GT Foundation, and Singh, venue is

appropriate because Blackbird’s deposit was sent to a bank in Utah before being transferred to

the GT Foundation, and many of the acts and omissions which form the basis of a conspiracy

committed by the Defendants originated in Utah.

                                  GENERAL ALLEGATIONS

Blackbird’s Business and Relationship with Worth and Halls

        24.     Blackbird is a real estate development company based in Des Moines, Iowa.

The majority of projects within Blackbird’s portfolio further Blackbird’s mission to provide

social benefits for the community in which it resides. These projects include affordable housing,

healthcare, senior living, student housing, and ministry growth.

        25.     In late 2018, Blackbird began to pursue the acquisition, development, ownership,

management, and control of property located at SWC East 16th Ave and Logan Street, Denver,

CO 80203 and owned by the non-profit entity, Two Spires Evangelical Holdings, LLC (the

“Project”).

        26.     To fund the Project, Blackbird required financing through a third-party loan

known as a credit facility.

        27.     Blackbird was subsequently introduced to Worth through a mutual contact.

        28.     Upon information and belief, Worth provides a lending platform to enable non-

traditional loan structures.
                                                 6
   Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.8 Page 7 of 33




          29.   Worth, through Ely and Worth’s attorney, Halls, made several promises to

Blackbird that induced Blackbird to seek a loan through Worth. Specifically, and among other

promises, Worth and Halls promised a below-market interest rate loan due to the philanthropic

nature of Blackbird’s business, flexibility in collateral and mortgage security, and that

Blackbird’s deposit (a requirement of the loan) would be fully insured.

          30.   The insurance promised on Blackbird’s deposit—ensuring its protection and

eliminating any risk of loss to Blackbird—was of particular importance to Blackbird’s decision

to move forward with Worth and Halls. Blackbird would not have advanced the Deposit without

the security.

          31.   Based on these promises, Blackbird signed a loan facility term sheet (the “Term

Sheet”) on August 20, 2019. A true and accurate copy of the Term Sheet is attached hereto as

Exhibit A.

          32.   Blackbird then discussed the Project with Medallion Capital, LLC (“Medallion”),

a company that shares Blackbird’s commitment to philanthropy, and the possibility that

Medallion would loan money to Blackbird as part of the loan structure described in the Term

Sheet.

          33.   Based on these discussions, Medallion agreed to fund the deposit on Blackbird’s

behalf.

The Lending Agreement between Blackbird and Worth

          34.   On November 4, 2019, Blackbird and Worth entered into a Lending and Security

Agreement (the “Lending Agreement”), in which Worth agreed to loan Blackbird up to

$25,000,000 (the “Loan”). A true and accurate copy of the Lending Agreement is attached

hereto as Exhibit B.
                                                 7
   Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.9 Page 8 of 33




       35.     The Lending Agreement was amended by the Amendment to Lending and

Security Agreement, dated November 14, 2019 (the “Amendment”). A true and accurate copy of

the Amendment is attached hereto as Exhibit C.

       36.     The Project was to be funded from the Loan proceeds directly or indirectly

through a sub loan.

       37.     The sub loan refers to a loan made by Blackbird from the Loan proceeds to a

limited liability company, corporation, partnership, or other entity. The initial sub-borrower

contemplated by Blackbird was Two Spires Evangelical Holdings, LLC, a Colorado non-profit

limited liability company.

       38.     Mr. Halls (as a representative of Halls) negotiated and drafted the Lending

Agreement as Worth’s attorney.

       39.     The Lending Agreement was signed by Ely as the Managing Member of Worth.

       40.     The Lending Agreement required that both Blackbird and Worth would provide a

portion or percentage of the total Loan amount.

       41.     Specifically, Blackbird would provide $5,000,000, or 20% of the total Loan

principal, as a deposit (the “Deposit”) on the loan to induce Worth to fund the remaining

principal of the Loan.

       42.     In turn, Worth would provide 80% of the total Loan principal, or $20,000,000.

       43.     The Initial Tranche (as defined in the Lending Agreement) of Worth’s portion of

the Loan was due on or before November 17, 2019.

       44.     On November 15, 2019, and in connection with the Lending Agreement,

Blackbird executed a promissory note in favor of Worth for the principal sum of $25,000,000.


                                                  8
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.10 Page 9 of 33




The Deposit Agreement between Blackbird and Halls

       45.     In consideration of Worth’s extension of the Loan pursuant to the terms of the

Lending Agreement, on August 28, 2019 Blackbird in good faith made the Deposit with Halls

acting as escrow agent. The $5,000,000 represents Blackbird’s 20% of the total Loan amount.

       46.     Blackbird made the Deposit pursuant to a deposit agreement, dated August 27,

2019, between Blackbird and Halls (the “Deposit Agreement”). A true and accurate copy of the

Deposit Agreement is attached hereto as Exhibit D.

       47.     The Deposit was transferred from Blackbird’s bank in Denver, Colorado to Halls’

account in Kamas, Utah.

       48.     Blackbird borrowed the funds necessary to make the Deposit from Medallion

pursuant to a separate loan agreement and promissory note (collectively, the “Medallion

Agreement”).

       49.     Pursuant to the Deposit Agreement, Halls was to provide a surety bond for the

$5,000,000, naming Medallion as an additionally insured under Halls’ insurance policy.

       50.     As with the Lending Agreement, the security of the Deposit through a surety bond

was instrumental in Blackbird entering into the Deposit Agreement and to Medallion agreeing to

lend the funds for the Deposit to Blackbird pursuant to the Medallion Agreement.

       51.     As part of the negotiations, Worth (through Ely) and Halls (through Mr. Halls)

verbally and in writing told Blackbird that Medallion would be named and was named as an

additionally insured under Halls’ insurance policy.

       52.     The Deposit Agreement required Halls to return the Deposit to Blackbird after 12

months if it had not already been returned.


                                                9
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.11 Page 10 of 33




       53.     The Deposit Agreement also permitted Blackbird to receive repayment of the

entire Deposit by demanding its return upon 60 days’ notice to Halls in writing.

       54.     The Deposit Agreement provided that after the $5,000,000 in escrow was returned

to Medallion, the Loan would serve as a line of credit for Blackbird of $20,000,000.

Worth’s and Halls’ Contractual Breaches and Misrepresentations Related Thereto

       55.     Worth did not have the funds to fund the Loan. Upon information and belief,

Worth either intended to fund the Loan with the assistance of other organizations, including

NaPo Limited and GT Foundation, as part of a larger series of transactions, or never intended to

fund the Loan at all.

       56.     Regardless, in breach of the Lending Agreement, Worth did not fund the Initial

Tranche as required by November 17, 2019.

       57.     In fact, to date, Worth has not funded any portion of the Loan as required by the

Lending Agreement, despite the fact that Blackbird has performed its obligations under the

Lending Agreement, including by making the Deposit with Halls.

       58.     Upon information and belief, Halls forwarded the Deposit to GT Foundation in

Panama City, Panama in accordance with an agreement, dated September 3, 2019, between GT

Foundation and Halls (the “GT Foundation Agreement”). A true and accurate copy of the GT

Foundation Agreement as provided to Blackbird by Halls is attached hereto as Exhibit E.

       59.     Singh signed the GT Foundation Agreement as its managing director.

       60.     On January 16, 2020, Blackbird wrote to Halls to provide Halls 60 days’ written

notice required under the Deposit Agreement that Blackbird wanted the Deposit returned to it in




                                               10
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.12 Page 11 of 33




full by March 20, 2020 (the “Notice”). A true and accurate copy of the Notice is attached hereto

as Exhibit F.

       61.      Halls responded that the Notice was defective under the Deposit Agreement

because the Notice was not provided irrespective of its effect on the Lending Agreement and the

Notice specified that it was not intended to terminate the Lending Agreement.

       62.      However, the Deposit Agreement makes no mention of any requirement related to

effects on the Lending Agreement if a demand is made for the return of the Deposit.

       63.      As such, Halls had no valid basis for declining to return the Deposit per

Blackbird’s request.

       64.      Thereafter, Ely and Barber, who became involved in response to issues regarding

the promised surety bond that was to protect the Deposit as described more fully below,

represented to Blackbird that the security default would be perfected through an alternative

structure and thus there was no need for the return of the Deposit at the time.

       65.      On April 30, 2020, Ely, on behalf of Worth, also sent Blackbird a letter affirming

that Worth was still planning to fund the Loan (the “April Letter”). A true and accurate copy of

the April Letter is attached hereto as Exhibit G.

       66.      The April Letter expressed that the Loan had cleared all compliance hurdles and

that there were no technical issues preventing the transaction in the Lending Agreement from

proceeding.

       67.      The April Letter also represented that the closing on the Loan had been delayed

due to external circumstances outside of Worth’s control and that, although the Loan was being

processed in a large queue, it was near the front of that queue. Ely expressed, however, that


                                                 11
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.13 Page 12 of 33




Worth did not have a committed date for closing on the Lending Agreement because its

understanding was that the Loan may not arrive at the front of the queue until the end of May

2020.

        68.    On May 8, 2020, Ely sent Blackbird another letter on behalf of Worth regarding

the Loan and Lending Agreement (the “May Letter”). A true and accurate copy of the May

Letter is attached hereto as Exhibit H.

        69.    The May Letter represented that when the Deposit was sent to Halls, “this set a

number of things in motion to create the liquidity to fund Blackbird's credit facility.”

        70.    The May Letter then represented that the Deposit had been transferred to another

attorney-client trust account, which is still held on account in London, England, and that these

funds have never been touched and are still in place. At the time of the representation, Blackbird

had no reason to believe it was false. Since that time, however, Blackbird has been unable to

verify the representation and has not received any documents in support.

        71.    The May Letter next represented that the “Family Office,” upon receipt of these

funds, along with other parties who are participating in the creation of their credit facilities,

moved to liquidate one of their banking instruments, which is a cash-backed Standby Letter of

Credit (“SBLC”) from HSBC Bank in London, England. Ely further stated that while this

process is normally a 35-banking day contract and there are generally no problems or obstacles

that arise in these transactions, they were selling this instrument to Santander Bank out of

Santiago, Chile, and Chile began to face significant issues of civil unrest starting in October 7,

2019.




                                                  12
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.14 Page 13 of 33




       72.     Upon information and belief, the Family Office referenced in the May Letter is

NaPo Limited and/or its representative Korakianitis.

       73.     The May Letter further represented that riots in Chile resulted in shutting down

the country and prevented Worth’s bankers from closing on the Lending Agreement.

       74.     While Blackbird did not know it at the time, the May Letter’s representation

regarding the impact of civil unrest in Chile on Santander Bank was apparently false. According

to Santander Bank’s investor relations chief: “Although there has been increased volatility in the

local market this past week, the impact on our operations has been minimized thanks to our

digital strategy, which has been able to support the branch network and serve our clients over

this period.” See Chile protests: Santander's view on loan growth, the economy, BNAMERICAS

(Nov. 1, 2019), https://www.bnamericas.com/en/features/chile-protests-santanders-view-on-loan-

growth-the-economy.

       75.     The May Letter also provided another reason for delay. It stated that the situation

in Chile resulted in the decision to transfer the funds back to London in November 2019, but the

withdrawal of the United Kingdom from the European Union (“Brexit”) and year-end issues

caused further delays until March of 2020.

       76.     While Blackbird did not know it at the time it received the May Letter, upon

information and belief, Brexit did not cause multi-month delays in the financial industry.

       77.     The May Letter then provided a third reason for delays: the Covid-19 pandemic,

which the letter represented forced closures and staff to attempt to work from home.




                                                13
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.15 Page 14 of 33




          78.   Finally, the May Letter represented that Worth and the Family Office were

working to provide liquidity and relief to Blackbird and requested that Blackbird extend them “a

little more grace.”

          79.   In reliance on Worth’s numerous promises and representations in the May Letter

and in various other communications to Blackbird that it would fund the Loan by a date certain,

and that the delays were out of Worth’s hands, Blackbird refrained from pursuing any legal

action.

          80.   On June 4, 2020, Singh, on behalf of GT Foundation, sent Halls a letter and

copied Blackbird (the “GT Letter”). A true and accurate copy of the GT Letter is attached as

Exhibit I.

          81.   In the GT Letter, GT Foundation represented that the Deposit is “fully being

securitized and principal under deposit with the foundation in control of it.” The letter then

blamed the Covid-19 pandemic for the delay but stated that GT Foundation “expect[s] at any

moment the funds will be released and that they will settle into our accounts for further credit to

you.”

          82.   Ely also represented to Blackbird on a phone call in June of 2020 that the

underlying financial instrument needed to fund the Loan finally sold and that GT Foundation was

going to proceed with distributions in a few business days.

          83.   On June 16, 2020, as a result of the fact that no portion of the Loan had been

funded despite Worth’s and GT Foundations’ representations to the contrary, Blackbird again

requested the return of the Deposit in a letter to Halls, provided 60 days’ notice, and specified




                                                 14
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.16 Page 15 of 33




that the request was unconditional and unqualified (the “Second Notice”). A true and accurate

copy of the Second Notice is attached as Exhibit J.

       84.     In breach of the Deposit Agreement, Halls did not return the Deposit after 60

days, and has not returned it since.

       85.     Rather, Mr. Halls, on behalf of Halls, represented that he would make requests for

the return of the Deposit but that the Deposit’s return was outside of Halls’ control. Although

the GT Foundation Agreement provides that Halls only has to provide 30 days’ notice for a

return of the Deposit, Blackbird is unaware of whether Mr. Halls ever provided such notice to

GT Foundation.

The Defendants’ Misrepresentations Regarding the Surety Bond

       86.     As described above, Halls’ and Worth’s representations that the Deposit would be

protected by a surety bond was essential to Blackbird’s decision to enter into the Lending

Agreement and Deposit Agreement.

       87.     Nevertheless, after signing the Lending Agreement and the Deposit Agreement,

Blackbird discovered that the represented surety bond is not, in fact, a surety bond. Rather, it is

an insurance policy for wrap and crime that does not include Medallion as an insured third party.

       88.     Blackbird made this discovery when it and Medallion began thoroughly

reinvestigating all aspects of the transaction in January of 2020 because of the extended delay in

performance by Worth. Over the next several months, Blackbird communicated directly with the

insurance broker for SION and learned that there was no surety bond for Medallion’s benefit as

promised.




                                                 15
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.17 Page 16 of 33




       89.      After making this discovery, Blackbird confronted Halls and Worth, and

threatened legal action against Halls, Worth, and Ely. Halls and Worth, through Mr. Halls and

Ely respectively, alternated between explaining to Blackbird on the one hand that they had also

been misled about the surety bond and on the other hand contending that the actual policy was

what they had promised both verbally and in the Deposit Agreement.

       90.      Halls and Worth eventually offered to perfect the agreement through other means,

in at least tacit recognition that the insurance policy provided no security for the Deposit to either

Blackbird or Medallion.

       91.      To provide security in lieu of a surety bond, on July 7, 2020, Ely swore before a

notary an Affidavit of Worth Group Capital LLC – Safe Keeping Receipt Assignment (the

“Affidavit”). A true and accurate copy of the Affidavit is attached as Exhibit K.

       92.      In the Affidavit, Ely represents that Worth was issued a Safe Keeping Receipt by

G4S Bahrain reference number GWA-1, under Security Seal No #101-8094-5733-7, under the

account of Trade License No 5012510 and pledged under Halls for the benefit of Worth Group

Capital, for 6,379 kilograms of gold, which at the time was valued at approximately

$350,000,000 (the “SKR”). A true and accurate copy of the SKR as provided by Ely is attached

as Exhibit L.

       93.      The Affidavit further represents that Worth assigned a portion of the SKR

amounting to 440 kilograms of gold to Blackbird and that the assignment may be revoked only

after Blackbird has received all amounts due and owing to it under the Lending Agreement, as

amended.




                                                 16
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.18 Page 17 of 33




       94.     While Blackbird did not know it at the time, Ely’s—and by extension, Worth’s—

representations in the Affidavit were false. Specifically, upon information and belief, either the

SKR is fraudulent and invalid, or Barber, not Worth, has access to the SKR.

       95.     Further, upon information and belief, Worth has no ability to assign a portion of

the SKR, whether to Blackbird or anyone else.

       96.     One day after Ely executed the Affidavit, on July 8, 2020, Blackbird sent Worth a

letter stating that Worth had failed to deliver any of its portion of the Loan ($20,000,000) as of

that date and demanding that Worth honor the terms of the Lending Agreement and deliver the

entire balance of Worth’s portion to Blackbird by 3:00 pm Central Standard Time on Friday, July

10, 2020 (the “Demand”). A true and accurate copy of the Demand is attached as Exhibit M.

       97.     The Demand also expressed that in the event Worth failed to meet this deadline,

Blackbird intended to immediately exercise all of its rights under the Affidavit and the SKR

based on its belief at the time that the SKR was valid and enforceable.

       98.     After speaking with Ely, on July 9, 2020, Blackbird rescinded the demand for

$20,000,000 by July 10, 2020, based on Ely’s representations in the Affidavit that Blackbird’s

Deposit and Loan proceeds were protected by and could be monetized through the SKR (the

“Rescission Letter”). A true and accurate copy of the Rescission Letter is attached as Exhibit N.

       99.     That same day, Blackbird sent an email to the point of contact at G4S listed on the

SKR and asked G4S to confirm the authenticity of the SKR and to provide instructions for

monetizing the underlying asset.

       100.            Soon thereafter, Ely called Blackbird and demanded that Blackbird recall

its correspondence with G4S. He also expressed that Blackbird should get a proposal from a


                                                 17
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.19 Page 18 of 33




bank to monetize the SKR, and once Blackbird had that proposal it should send the proposal to

him, and in turn, Worth would issue a new SKR directly to that bank.

       101.    Blackbird sent another email to G4S the following day stating that it would work

through the account holder directly.

       102.    G4S responded a day later, expressing that it cannot communicate with Blackbird

and that the email Blackbird sent is effectively a breach of G4S’s contract with the account

holder. G4S warned the account holder to comply with the contract or G4S would cancel the

account, and stated that Blackbird, Halls, and Worth are not G4S’s clients.

       103.    G4S’s response copied Barber at max@siontradingfze.com and Wali Badshah at

wali@siontradingfze.com. Upon information and belief, Barber and/or SION FZE is the G4S

account holder referenced by G4S.

       104.    Blackbird subsequently contacted Halls, expressing that Blackbird needed

verification from G4S confirming that the SKR is indeed valid and for additional information on

its monetization for Blackbird’s benefit. Nothing meaningful was provided in response.

       105.    Rather, on July 13, 2020, Ely sent an email to Blackbird regarding an additional

line of credit, apparently offering yet another alternate route for financing the Loan. Although

Worth verbally expressed approval for this line of credit, it was never signed and Worth never

referenced it again.

       106.    On about July 16, 2020, Korakianitis and Ely represented to Blackbird that HSBC

Bank would send the loan proceeds from GT Foundation’s account to Wells Fargo in the United

States, but that first the funds would pass through some type of international processing regimen.

Due to supposed restructuring, Korakianitis and Ely represented that Blackbird should only


                                                18
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.20 Page 19 of 33




expect $5,000,000 out of the first tranche, and a second funding event would be coming behind it

shortly (within a matter of days) where Blackbird would receive the rest of the Loan proceeds.

        107.    Korakianitis and Ely further represented that Blackbird would receive $5,000,000

from Wells Fargo to satisfy Worth’s obligations under the Lending Agreement but that if the

money arrived before the Deposit was returned, then the $5,000,000 would apply to the Deposit.

        108.    On August 3, 2020, Worth provided Blackbird a “SWIFT” document representing

that the transfer of money between banks had occurred. SWIFT is an international messaging

network used to communicate sensitive information (such as account details) among financial

institutions.

        109.    Using the SWIFT document as support, Ely and Korakianitis represented to

Blackbird that Blackbird should expect its portion of this tranche to arrive in its accounts within

48 hours and then a second tranche would arrive a few days later with the balance of the Loan

proceeds.

        110.    Despite these representations, Blackbird did not receive any funds within 48 hours

or at any time thereafter.

        111.    Approximately ten days later, Korakianitis and Ely represented to Blackbird that

the SWIFT code was incorrect and needed to be corrected. Ely later represented to Blackbird

that the code had been updated and the money had been received by Wells Fargo, and Blackbird

would soon receive its share.

        112.    Despite further assurances that the money would be arriving within a few business

days, none ever arrived.

The Settlement Agreement between Blackbird and Worth


                                                 19
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.21 Page 20 of 33




       113.    In apparent recognition that Blackbird would be forced to take legal action to

protect its interests if there were any further delays, Worth and Ely agreed to renegotiate certain

terms of the Lending Agreement, fund the Loan, and settle Blackbird’s potential claims against it

through the parties’ August 28, 2020 Second Amendment to Lending and Security Agreement

Including Settlement and Release of Claims (the “Settlement Agreement”). A true and accurate

copy of the Settlement Agreement is attached as Exhibit O.

       114.    Specifically, the Settlement Agreement required Worth to, among other things:

(1) cause Halls to return the Deposit through a direct payment to Medallion; (2) fund the balance

of the loan of $20,000,000 , less origination fees; and (3) pay Blackbird $1,600,000 as

compensation for its damages caused by the delay of funding the Loan (the “Settlement

Payment”).

       115.    Worth agreed to take each of these actions on or before September 10, 2020.

       116.    In return, Blackbird agreed to release its claims against Worth as long as Worth

fulfilled its obligations under the Settlement Agreement by September 10, 2020.

       117.    The Settlement Agreement is governed by the laws of the State of Utah and

specifies state or federal court in Utah as the proper jurisdiction and forum for resolving any

disputes between the parties.

       118.    Worth conditioned the signing of the Settlement Agreement on changing the

governing law and forum for resolving any disputes from Colorado to Utah.

       119.    Blackbird consented to the Settlement Agreement based not only on Worth’s

promises, but also based on representations by Barber (on behalf of SION and SION FZE) and




                                                 20
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.22 Page 21 of 33




Korakianitis (on behalf of NaPo Limited) that the Loan and the Settlement Payment would be

funded imminently.

       120.    Specifically, Barber and Korakianitis represented that the Loan proceeds were

pending in Wells Fargo’s account, had originally arrived in European currency, and only had to

go through the foreign exchange process before being released. They stated that the money

would be released to SION FZE’s account and then would be distributed to Blackbird through

Halls, rather than Worth.

       121.    Barber and Korakianitis also represented that filing litigation against them would

only slow down Blackbird’s receipt of the Deposit and Loan proceeds.

       122.    Despite inducing Blackbird to refrain from taking legal action and memorializing

its numerous promises in the Settlement Agreement, Worth once again failed to fund any aspect

of the Loan, make the Settlement Payment, or meet its other financial commitments to Blackbird

by September 10, 2020 as promised.

       123.    Rather, consistent with its other communications, Ely again asked Blackbird to

give Worth additional time to fund the Loan.

       124.    Upon information and belief, Worth never intended to fund the Loan or the

Settlement Payment, and instead executed the Settlement Agreement as a way to further delay

any legal action by Blackbird.

Barber’s Misrepresentations to Blackbird Regarding the Loan and Deposit

       125.    Starting in mid-September of 2020, Blackbird began receiving direct

communications from Barber regarding the processing of the Loan proceeds.




                                               21
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.23 Page 22 of 33




       126.    Blackbird believes that Barber became involved because Blackbird threatened

litigation against SION due to the misrepresentations regarding the promised surety bond and

SION FZE regarding the SKR.

       127.    Upon information and belief, Barber is an agent of Worth, GT Foundation, and

NaPo Limited (in addition to being an agent of SION and exercising complete dominion and

control over SION), tasked with preventing Blackbird from taking legal action with regard to the

return of the Deposit or funding of the Loan.

       128.    Barber represented to Blackbird that Loan proceeds had transferred from HSBC

Bank to Deutsche Bank to Wells Fargo’s international bank in a series of communications

between September 14, 2020 and October 5, 2020. Barber also accused Wells Fargo of playing

games and needlessly holding his deposits.

       129.    Barber also referenced an error in the SWIFT code initially that slowed down the

transfer between Deutsche Bank and Wells Fargo while it was being fixed.

       130.    Barber also represented that the international side of Wells Fargo had to process

the funds through international customs, and that this process would finish in mid- to late-

September. During this time, Barber repeatedly represented that he simply needed to initiate the

wire and that then, at a minimum, Blackbird would receive the Deposit back.

       131.    Barber separately made the inconsistent representation that Wells Fargo refused to

authorize the wire and that his attorney was attempting to push Wells Fargo. He stated that his

attorney believed that Wells Fargo would release the funds at the end of September 2020 to

avoid regulator issues for holding on to the funds for so long.




                                                22
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.24 Page 23 of 33




         132.   Blackbird does not know whether Wells Fargo released any funds to Barber or

any other party by the end of September 2020. Regardless, Blackbird did not receive any funds

at that time, whether directly from Wells Fargo, or from Barber, SION FZE, SION, or any other

party.

         133.   On October 6, 2020, representatives for Blackbird traveled to Utah to meet with

Ely and Barber. Barber represented that Wells Fargo’s anti-money laundering department

claimed that it needed to investigate the sources of the funds to ensure that the bank was not

participating in illicit transfers. Barber represented that HSBC Bank and Deutsche Bank also did

this, but that the investigations performed by those banks did not take as long.

         134.   In addition, Barber promised that SION would soon transfer sufficient funds to

Worth (directly or through Halls), who in turn would refund the Deposit directly to Blackbird by

Thursday, October 29, 2020, and would make the Settlement Payment and fund the Loan in full

shortly thereafter.

         135.   During this same time period, Barber informed Blackbird of SION’s intention to

provide funding to Worth so that it could in turn fund the Loan.

         136.   Barber likewise has asked Blackbird repeatedly to refrain from initiating legal

action based on its promises to Blackbird of providing additional information on the Deposit and

Worth’s ability to fund the Loan. Further, Barber repeatedly has represented that if Blackbird

initiated legal action, the return of the Deposit and funding of the loan would be made much

more difficult, if not impossible.

         137.   Despite subsequent verbal promises, Barber has not provided any dependable

information. In fact, although Barber represented he was only involved in the transfer of funds


                                                23
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.25 Page 24 of 33




and not the underlying transaction, upon information and belief, Barber is integral to the

transaction, has utilized the situation to make payment more challenging, and has made a series

of false promises to Blackbird in an effort to delay Blackbird from pursuing its legal rights or

reporting the apparent fraud to any regulatory or criminal authorities.

Defendants’ Unfulfilled Promises to Blackbird

       138.    Over 12 months have passed since the date of the Deposit Agreement and the

Lending Agreement.

       139.    Neither Halls nor any other party has returned any portion of the Deposit to

Blackbird.

       140.    Rather, Blackbird was forced to use other sources to satisfy its obligations to

Medallion pursuant to the Medallion Agreement after Medallion threatened a lawsuit.

       141.    Blackbird also has not received any funds that were to be part of the Loan.

       142.    Upon information and belief, the Deposit has not been returned to Blackbird and

the Loan has not been funded because such funds are improperly being used elsewhere,

potentially in deals with other affiliates of Worth including GT Foundation, NaPo Limited,

SION, and SION FZE.

       143.    Upon information and belief, the SKR is either fraudulent and invalid or remains

in Barber’s name and Worth has no ability to assign a portion of the apparent gold to Blackbird,

nor does Blackbird have any ability to monetize it.

       144.    Despite multiple attempts, Blackbird has been unable to obtain the gold

referenced in the SKR or convert it into cash.




                                                 24
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.26 Page 25 of 33




         145.   Upon information and belief, Barber has used SION and SION FZE as mere

instrumentalities and alter egos of himself. Thus, Barber should be personally liable in

connection with the claims asserted in this Complaint against SION and SION FZE.

Blackbird’s Discovery of Defendants’ Fraud

         146.   Through the course of preparing for this litigation, Blackbird has discovered

similar fact patterns to the fraudulent scheme alleged herein in other lawsuits and criminal

investigations involving Barber, SION, SION FZE, NaPo Limited, Korakianitis, GT Foundation,

and Singh (collectively, the “Co-Conspirators”).

         147.   Specifically, Blackbird is now aware of at least eight other parties (the “Victims”)

who have agreed to similar loan structures as the Loan Agreement, made significant cash

deposits to one or more of the Co-Conspirators and/or their affiliates as a condition of their loan,

and then never received the loan proceeds or a return of their deposit. The Victims are located in

at least seven states in the United States and in at least one province in Canada.

         148.   Central to each of these Victims’ claims are ongoing and long-term efforts by one

or more of the Co-Conspirators to delay and mislead by making false representations regarding

why the loans have not been funded and deposits have not been returned.

         149.   As an example, in one instance, one of the Victims alleges that Barber stated that

the delay was caused by a break-in to Barber’s office. As in this case, and upon information and

belief, the Co-Conspirators’ goal in making these misrepresentations is to thwart the Victims

from pursuing either civil or criminal charges against them to secure the return of their deposited

funds.

Blackbird’s Damages


                                                 25
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.27 Page 26 of 33




        150.    Blackbird has suffered significant losses and harm to its business as a direct result

of Defendants’ actions as described in this Complaint. Blackbird’s losses include not only the

disappearance of the $5,000,000 Deposit, but also numerous other damages.

        151.    As an example, because Blackbird has not received a return of its Deposit, and

because the Loan has never been funded, Blackbird was forced to forgo the Project. In so doing,

Blackbird lost its deposit on the Project, had to sell the property associated with the Project at a

substantial loss, and owed significant default payments to its partners and investors.

        152.    As another example, Blackbird had to repay the $5,000,000 it owed to Medallion,

causing it to scramble to raise the necessary cash to do so. As a direct consequence, Blackbird

was forced to default on certain other debt, which in turn caused it to incur significant interest,

penalties, and related costs, as well as the loss of certain assets.

        153.    In total, Blackbird’s damages resulting directly from Defendants’ conduct is no

less than $22,000,000.

                                       CAUSES OF ACTION

                                           COUNT I
                               (Breach of Contract against Worth)

        154.    Blackbird incorporates all previous paragraphs as if fully set forth herein.

        155.    Blackbird and Worth entered into the Lending Agreement, as modified by the

Amendment and the Settlement Agreement.

        156.    The Lending Agreement, as modified by the Amendment and the Settlement

Agreement, is a valid and enforceable contract.




                                                   26
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.28 Page 27 of 33




       157.    Blackbird fulfilled its obligations under the Lending Agreement, as modified by

the Amendment and the Settlement Agreement, by depositing the $5,000,000 required under that

agreement.

       158.    Worth originally breached the Lending Agreement by failing to provide any part

of its portion of the Loan, which was $20,000,000 (including the Deposit), less origination fees,

on or before November 16, 2019.

       159.    Worth also breached multiple provisions of the Settlement Agreement by failing

to fund any aspect of the Loan, make the Settlement Payment of $1,600,000, or meeting its other

financial commitments to Blackbird by September 10, 2020 as promised.

       160.    These failed promises include a failure to cause Halls to return the Deposit

through direct payment to Medallion.

       161.    Blackbird was damaged by Worth’s breach of the Lending Agreement, as

modified by the Amendment and the Settlement Agreement.

       162.    By entering into the Lending Agreement and Settlement Agreement with no

intention of providing Blackbird any of the benefits in those agreements, Worth has likewise

violated the implied covenant of good faith and fair dealing inherent in those agreements.

       163.    Worth’s actions thus were willful and malicious.

       164.    Blackbird was damaged because Worth breached the Affidavit.

                                         COUNT II
                              (Breach of Contract against Halls)

       165.    Blackbird incorporates all previous paragraphs as if fully set forth herein.

       166.    Blackbird and Halls entered into the Deposit Agreement.

       167.    The Deposit Agreement is a valid and enforceable contract.

                                                27
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.29 Page 28 of 33




          168.   Blackbird fulfilled its obligations under the Deposit Agreement by causing the

Deposit to be forwarded to Halls under that agreement.

          169.   Despite multiple demands made by Blackbird, Halls has breached and continues

to breach the Deposit Agreement by failing to return the Deposit after Blackbird provided Halls

60 days’ notice in writing.

          170.   Halls also breached the Deposit Agreement by failing to return the Deposit after

12 months as required under the Deposit Agreement.

          171.   Halls further breached the Deposit Agreement by failing to provide a surety bond

for the $5,000,000 and naming Medallion as an additionally insured under Halls’ insurance

policy.

          172.   By entering into the Deposit Agreement with no intention of providing Blackbird

any of the benefits in that agreement, Halls has likewise violated the implied covenant of good

faith and fair dealing.

          173.   Halls’ actions thus were willful and malicious.

          174.   Blackbird was damaged because Halls breached the Deposit Agreement.

                                            COUNT III
                              (Breach of Fiduciary Duty against Halls)

          175.   Blackbird incorporates all previous paragraphs as if fully set forth herein.

          176.   A fiduciary relationship exists between Halls and Blackbird because there is a

relationship of trust stemming from Blackbird depositing $5,000,000 with Halls acting as an

escrow agent, and because Halls agreed to act as Blackbird’s fiduciary in the Deposit Agreement.

          177.   As a result, Halls owed to Blackbird fiduciary duties of care and loyalty.



                                                  28
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.30 Page 29 of 33




       178.    Halls breached this fiduciary duty by accepting the Deposit from Blackbird and

then transferring that Deposit to a third party without adequately ensuring the Deposit would be

returned to Blackbird, by failing to adequately secure a surety bond or other insurance to protect

the Deposit, and by failing to return the Deposit to Blackbird.

       179.    Blackbird’s injuries were the natural and direct consequence of Halls’ decision to

transfer the money to an untrustworthy source and failing to protect the Deposit through a valid

surety bond or otherwise.

       180.    Blackbird has been damaged by Halls’ willful and malicious actions because it

has lost $5,000,000 and has lost business opportunities, among other substantial damages.

                                      COUNT IV
  (Aiding and Abetting Breach of Fiduciary Duty against Worth, Ely, SION, SION FZE,
            Barber, NaPo Limited, Korakianitis, GT Foundation, and Singh)

       181.    Blackbird incorporates all previous paragraphs as if fully set forth herein.

       182.    Through its actions, such as entering into the Settlement Agreement and

representing that the Deposit would be returned to Blackbird, Worth and Ely knowingly joined

Halls in fraudulently depriving Blackbird of the Deposit through the breach of Halls’ fiduciary

duties owed to Blackbird.

       183.    Through facilitating the subsequent transactions involving the Deposit, and

through a variety of misrepresentations and delay tactics as set forth above, Ely and the Co-

Conspirators knowingly joined Halls in fraudulently depriving Blackbird of the Deposit through

the breach of Halls’ fiduciary duties owed to Blackbird.




                                                29
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.31 Page 30 of 33




       184.    Because Ely and the Co-Conspirators knowingly joined Halls in fraudulently

depriving Blackbird of the Deposit in breach of Halls’ fiduciary duties to Blackbird, they are

jointly and severally liable with Halls.

       185.    Worth’s, Ely’s, and the Co-Conspirators’ actions thus were willful and malicious

and intentionally fraudulent.

       186.    Blackbird has been damaged by Worth’s, Ely’s and the Co-Conspirators’ actions.

                                           COUNT V
                            (Civil Conspiracy against all Defendants)

       187.    Blackbird incorporates all previous paragraphs as if fully set forth herein.

       188.    Upon information and belief, Worth, Ely, Halls, SION, SION FZE, Barber, NaPo

Limited, Korakianitis, GT Foundation, and Singh have combined by engaging in conduct with a

common design (1) to deprive Blackbird of the Deposit and (2) prevent Blackbird from pursuing

legal action against Defendants, based on false representations that Worth would supply the Loan

to Blackbird according to an ever-delayed timeline as described more specifically above.

       189.    By entering into multiple transactions and consistently representing that the

Deposit soon would be returned, Defendants engaged in common action.

       190.    Blackbird believes and therefore alleges that Defendants have engaged in the

aforesaid unlawful conduct in order to accomplish their collective scheme.

       191.    As set forth more fully above, Defendants have acted with actual malice and with

a wanton and willful disregard of Blackbird’s rights.

       192.    Defendants’ actions thus were willful and malicious and intentionally fraudulent.

       193.    As a direct and proximate result of Defendants’ actions, Blackbird has suffered,

and continues to suffer, substantial damages.

                                                30
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.32 Page 31 of 33




                                           COUNT VI
                                  (Fraud against all Defendants)

       194.     Blackbird incorporates all previous paragraphs as if fully set forth herein.

       195.     As set forth more fully above, the Defendants each made false representations in

connection with the Lending Agreement, Settlement Agreement, Deposit Agreement, Affidavit,

and SKR in order to induce Blackbird into entering into those agreements, paying the Deposit,

and otherwise refraining from taking legal action to secure the return of the Deposit, funding of

the Loan, and compensation for its damages.

       196.     Defendants made these statements knowing they were false or recklessly and

without regarding for the truth in order to induce Blackbird into entering into those agreements,

paying the Deposit, and otherwise refraining from taking legal action.

       197.     Defendants made these statements with the intent that Blackbird would rely on

them to pay the Deposit and refrain from taking legal action.

       198.     Blackbird reasonably relied upon these representations (individual and joint) to its

detriment, and as a consequence, it has lost the Deposit, never was provided with the Loan, lost

business opportunities, and incurred other damages.

       199.     Defendants’ actions were willful and malicious and intentionally fraudulent.

       200.     As a direct and proximate result of these false representations, Blackbird has

suffered, and continues to suffer, substantial damages.

                                       COUNT VII
              (Concealment or Fraudulent Non-Disclosure against all Defendants)

       201.     Blackbird incorporates all previous paragraphs as if fully set forth herein.




                                                 31
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.33 Page 32 of 33




       202.    Due to the nature of the Lending Agreement, Settlement Agreement, Deposit

Agreement, Affidavit, and SKR, and because various of the Defendants have taken possession of

Blackbird’s property in the form of the Deposit without returning it (and without justification),

Blackbird and Defendants were in fiduciary and other relationships that gave Defendants a duty

to disclose the true whereabouts of the Deposit and why it could not be returned and the Loan

could not be funded.

       203.    Defendants knew of the nature of the transactions and all of the parties to those

transactions, the true location and any improper uses of the Deposit, as well as the true reason the

Deposit has not been returned and the Loan has not been funded.

       204.    Defendants’ actions thus were willful and malicious and intentionally fraudulent.

       205.    Defendants’ failure to disclose the nature of the transactions and all of the parties

to those transactions was a substantial factor in causing Blackbird’s damages.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff seeks relief as follows:

       1.      awarding Blackbird actual damages, including nominal, compensatory,

consequential and/or punitive damages, in an amount to be determined at trial, but in any event,

no less than $22,000,000;

       2.      awarding Blackbird pre- and post-judgment interest in an amount to be

determined at trial;

       3.      awarding Blackbird its reasonable attorney fees, costs, and expenses incurred in

this action; and




                                                 32
  Case 2:21-cv-00037-DBP Document 2 Filed 01/20/21 PageID.34 Page 33 of 33




       4.      awarding Blackbird such other and further relief as the Court deems equitable,

just and proper.

                                        JURY DEMAND

       Plaintiff hereby demands trial by jury as to all matters so triable.

       DATED this 20th day of January, 2021.

                                                   BROWNSTEIN HYATT FARBER SCHRECK, LLP

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                                                 33
